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875 Third Avenue
New York, New York 10022
Counsel for the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In re:                                                       Chapter 11

85 FLATBUSH RHO MEZZ LLC,                                    Case No. 20-23280 (RDD)
                                                             (Jointly Administered)
                                   Debtors.
---------------------------------------------------------X

                           DECLARATION OF DAVID GOLDWASSER

         I, David Goldwasser, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

the following is true and correct:

         1.       I am the managing member of GC Realty Advisors LLC, the Debtors’ Manager.

         2.       I submit this declaration in response to the letter filed by TH Holdco LLC regarding,

among other things, the walk through of the residential component of the premises located at 85

Flatbush Extension, Brooklyn, New York that took place on November 9, 2022.

         3.       On November 9, 2022, I was notified that unauthorized individuals were observed at

the residential component of the Debtors’ property. I directed one of GC Realty Advisor LLC’s asset

managers, Brian Dulitz, to go to the site to assess the situation and work with one of the Debtors’

insiders, Sam Rubin, to have any unauthorized individuals vacate the premises.

         4.       Until TH Holdco’s counsel notified Debtors’ counsel of this situation, I had no

knowledge of there being any occupants in the residences other than the two authorized month to

month tenants in units 8A and 11F.

         5.       After it became apparent that the unauthorized individuals would not vacate the

premises and the police were called, I had Mr. Dulitz remain on site to walk through the property along

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with TH Holdco’s representatives and the officers dispatched to the residences. Mr. Dulitz has filed a

separate declaration setting forth what took place once the police arrived.


Dated: New York, New York
       November 11, 2022



                                                         _______________________
                                                         David Goldwasser




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